     Case 2:20-cv-08040-MWF-MAA Document 12 Filed 10/28/20 Page 1 of 2 Page ID #:35




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 6    Attorneys for Plaintiff
      MIGUEL HERNANDEZ
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      MIGUEL HERNANDEZ,                                 Case No.: 2:20-cv-08040 MWF (MAAx)
11
12                 Plaintiff,
13          vs.                                         NOTICE OF VOLUNTARY
                                                        DISMISSAL OF ENTIRE ACTION
14                                                      WITH PREJUDICE
      HOSN AND HOSN ENTERPRISES,
15    INC.; and DOES 1 to 10,
16
                   Defendants.
17
18
19          PLEASE TAKE NOTICE that MIGUEL HERNANDEZ
20     (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
21    voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
22    Procedure Rule 41(a)(1) which provides in relevant part:
23          (a) Voluntary Dismissal.
24                 (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25                        and any applicable federal statute, the plaintiff may dismiss an action
26
                          without a court order by filing:
27
                          (i)     A notice of dismissal before the opposing party serves either an
28
                                  answer or a motion for summary judgment.

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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
     Case 2:20-cv-08040-MWF-MAA Document 12 Filed 10/28/20 Page 2 of 2 Page ID #:36




 1    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3    Court.
 4
 5    DATED: October 28, 2020        SO. CAL. EQUAL ACCESS GROUP
 6
 7                                   By:      /s/ Jason J. Kim
 8                                         Jason J. Kim, Esq.
                                           Attorneys for Plaintiff
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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
